Case 9:19-bk-10132-FMD Doc24 Filed 07/10/20 Page1of5

IN THE UNITED STATES BANKRUPTCY COURT
MIDDLE DISTRICT OF FLORIDA, FORT MYERS DIVISION

In Re:

DIOGENES E. PENA
Case No. 9:19-bk-10132-FMD

DEBTOR.

/

 

TRUSTEE’S MOTION TO APPROVE STIPULATION
ON REPURCHASE OF ASSETS AND ABANDON
PROPERTY OF THE ESTATE

COMES NOW the Trustee, Robert E. Tardif Jr., and moves the Court to approve the attached
Stipulation and as grounds states that it would be in the best interest of the bankruptcy estate for the
Stipulation to be approved. The terms of the Stipulation do not constitute a compromise.

 

NOTICE OF OPPORTUNITY TO OBJECT AND REQUEST FOR HEARING

Pursuant to Local Rule 2002-4, the Court will consider the relief requested in this paper without further notice or
‘hearing unless a party-in-interest files a response within 21 days from the date set forth on the attached proof of
service plus an additional three days for service if any party was served by U.S. Mail. a

If you object to the relief requested in this paper, you must file a response with the Clerk of the Court at Sam M.
Gibbons United States Courthouse, 801 N. Florida Avenue, Suite 555, Tampa, Florida 33602, and serve a copy on the
Trustee, Robert E. Tardif Jr., Post Office Box 2140, Fort Myers, Florida 33902 and-on the Assistant. United States
Trustee, 501 E. Polk Street, Suite 1200, Tampa, Florida 33602 and any other appropriate persons within the time
allowed. If you file and serve a response within the time permitted, the Court will either schedule and notify you ofa
hearing, or may consider the response and grant or deny the relief requested without a hearing.

If you do not file a response within the time permitted, the Court will consider that you do not oppose the relief
requested in the paper, will proceed to consider the paper without further notice or hearing, and may grant the relief

requested, «..

 

 

WHEREFORE the Trustee moves the Court to enter an Order approving the terms of the Stipulation
and directing that the Debtor comply with the terms of the Stipulation.

Certificate of Service

I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished
electronically to the Assistant United States Trustee and Robert Sanchez and by regular U.S. Mail
to Diogenes E. Pena, 2600 NW 3" Place, Cape Coral, FL 33993 and all creditors and parties in

interest on the attached matrix on July 10, 2020.

/s/ Robert E. Tardif Jr.
Robert E. Tardif Jr., Esquire
P.O. Box 2140

Fort Myers, Florida 33902
Telephone: 239/362-2755
Facsimile: 239/362-2756
Email: rtardif@comcast.net

 
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IN THE UNITED STATES BANKRUPTCY COURT
MIDDLE DISTRICT OF FLORIDA, FORT MYERS DIVISION

In Re:

DIOGENES E PENA Case No. 9:19-bk-10132-FMD

Debtor. /

STIPULATION ON REPURCHASE OF ASSETS AND TO
ABANDON PROPERTY OF THE ESTATE

L. The Debtor shall be entitled to repurchase the equity in the non-exempt portion of the
following property, as described on attached Asset Worksheet (Asset Numbers 3, 4, 5) by paying the total
amount of $2,047.53, as itemized in Column 3, payable over sixteen months: household goods, electronics,
clothing. The Debtor shall pay $127.97 beginning August 1, 2020, and continuing on the same day of each
month thereafter for a total of fifteen months. The Debtor shall make a sixteenth and final monthly payment
of $127.98. The Debtor shall also surrender to the Trustee 10/12" of any 2019 tax refund, calculated after
deduction of any earned income credit, which Trustee has received. All payments shall be mailed and be
made payable to Robert E. Tardif Jr., Trustee, Post Office Box 2140, Fort Myers, FL 33902. If the Debtor
pay more than the total amount referenced above, the Trustee is permitted to deposit and administer the
funds. The Trustee may deposit post-dated checks upon receipt. In the event payment is not received by
the Trustee within five calendar days after the due date and Trustee sends a demand letter, Debtor agree to
pay a fee of $75.00 for each letter sent, which will be added to the following payment due.

2. If the Debtor fail to pay as agreed or breach any other term or condition of this Stipulation,
the Trustee shall have the right to accelerate the remaining balance due and to file an adversary proceeding
for said sums together with estimated attorney’s fees and costs for the need to file an adversary
proceeding. Further, the Trustee shall have the right to seek the revocation or denial of the Debtor’s
discharge, as appropriate, due to the failure to comply with the terms of the Stipulation and Order approving
the Stipulation. If the Debtor bounce any check, the Debtor shall only be allowed to pay by money order
and shall pay any bank service charges as a result of the bounced check.

3. Additionally, Trustee intends to abandon the following property of the estate, which
property is burdensome to the estate and/or is of inconsequential value to the estate:

 

 

 

_ PROPERTY ' LIENHOLDER LIEN VALUE
Homestead Wells Fargo $139,207.46 | $167,959.00
2600 NW 3” Place 1000 Blue Gentian Rd., #300
Cape Coral, FL 33993 Eagan, MN 55121
2017 Hyundai Santa Fe Santander Consumer USA $17,647.86 $17,575.00

P.O. Box 660633
Dallas, TX_75266

 

 

 

 

 

 

 

 

 
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4, This Stipulation is subject to filing a Motion to Approve Stipulation and no objections or
higher bids being received. If a higher bid is received, the Trustee shall notify the Debtor to arrange an
auction. In the event the Debtor is not the high bidder for any property being repurchased at private sale,
the Debtor will receive a refund of any funds paid by the Debtor for said property.

 
  
 

ROBERT E. TARDIF JR. ROBERT SANCHEZ
Attorneys for Trustee Attorney for Debtor

P.O. Box 2140 355 W 49th Stree

Ft. Myers, FL 33902 Hialeah, FL 334
Telephone: 239/362-2755 Telephone 8

(lA

By:

 

ROBERT E. TARDIF JR.
Florida Bar No. 818704

 

y: Ln
ROBERT SANCHEZ
Florida Bar No.

 

 
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FORM 1 Page: 1
INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
ASSET CASES
Case Number: 19-10132 CED Trustee: Robert E. Tardif Jr.
Case Name: DIOGENES E PENA Filed (f) or Converted (c): 10/25/19 (f
§341(a) Meeting Date: 12/03/19
Period Ending: 05/29/20 Claims Bar Date:
1 2 3 4 5 6 7 8
Estimated Net Value
(Value Determined By Property Asset Fully
Petition! Trusteo, Loss Liens, Abandoned Sale/Funds Administered (FA)!
Asset Description Unscheduled Exemptions, and OA=§554(a) Received by Gross Value of Lien Exempt
Ref # (Schedufed And Unscheduled (u) Property) Values Other Costs) Abandon the Estate Remaining Assets Amount Amount
1 HOMESTEAD- 2600 NW 3RD PLACE CAPE CORAL FL 167,959.00 0.00 OA 0.00 FA 139,207.46 167,959.00
33993-0000 LEE COUNTY
2 |HYUNDAI SANTA FE 2017 54561 MILES 17,575.00 0.00 CA 0.00 FA 17,647.86 0.00
3 |HOUSEHOLD GOODS (3240.00 service fee added) 2,800.00 1,752.53 0.00 2,650.00 0.00 897.47
Requested appraisal
2 COUCHES, LOVE SEAT, CENTER TABLE, 2
CORNER TABLES, 2 CHAIRS, 2 LAMPS AND
MISCELLANEOUS DECORATIVE ITEMS.KITCHEN:
REFRIGERATOR, TOASTER, COFFEE MAKER,
DISHWASHER, STOVE, 6 CHAIRS, 12 POTS, 18
PLATES, 12 CUPS, 18 SILVERWARE
4 |TV, DVD, STEREO, CELLPHONE, 2 COMPUTERS AND 855.00 230.00 0.60 230.00 0.00 0.090;
PRINTER.ALL IS OWN JOINTLY WITH NON-FILING
SPOUSE. VALUE IS DEBTORSVALUATION BASED ON
AGE AND CONDITION.
5 {USED CLOTHES AND SHOES, VALUE IS DEBTORS 60.00 65.00 0.00 125.00 0.00 60.00
VALUATION BASED ON AGEAND CONDITION.
6 |CASH ON HAND 20.00 0.00 0.00 FA 0.00 20.00:
7 ~=|SAVINGS ACCOUNT: SUNCOAST CREDIT UNION 5.00 0.00 0.00 FA 0.00 5,004
SAVINGS ACCOUNT NO.: XXXX2478-0000
8 [CHECKING ACCOUNT: SUNCOAST CREDIT UNION 17.53 0.00 0.00 FA 0.00 17.53
CHECKING ACCOUNT NO.: XXXX2478-0050
9 {SOUTHERN STATES SAVINGS AND RETIREMENT 153,902.60 0,00 0.00 FA 0.00 153,902.60
TRUST FUND BIMBO BAKERIES RETIREMENT
ACCOUNT
10 2019 TAX REFUND (u) 0.00 1,199.16 1,439.00 0.00 0.00 0.00
TOTALS (Exciuding Unknown Values) $343,194.13 $3,246.69 $1,439.00 $3,005.00 156,855.32 322,861.60

 

Major activities affecting case closing:
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Label Matrix for local noticing
113A-9

Case 9:19-bk-10132-FHD

Middle District of Florida

ft. Myers

Fri Jul 10 10:05:23 eo 2020

Read and Kelley Estate Services, LLC
PO Box 3111
North Fort Myers, FL 33918-3111

Bast Buy

Credit Services

PO Box 790441

Saint Louis, MO 63179-0441

Comenity Bank/HSN
PO Box 659584
San Antonio, TX 78265-9584

Onemain Financial, Inc.
986 Barnwood Place Drive
Fort Myers, FL 33966

Santander Consumar USA
PO Box 660633
Dallas, TX 75266-0633

Synchrony Bank
PO Box 960061
Orlando, FL 32896-0061

Robert E Tardif Jr.+
Trustee

Post Office Box 2140
Fort Myers, FL 33902-2140

Bradley Halberstadt +

Stewart Zlimen & Jungers, Ltd,
2860 Patton Road

Roseville, MN 55113-1100

Caryl E. Delano

Tampa
, FL

Santander Consumer USA Inc.

c/o Stewart, Zlimen & Jungers, Ltd.
2860 Patton Road

Roseville, MN 55113-1100

Capital One
PO Box 71083
Charlotte, NC 28272-1083

LVNV Funding LLC

c/o Mandarich Law Group
801 International Parkway
Suite 500

Lake Mary, FL 32746-4763

Quantum3 Group LLC as agent for
Credit Corp Solutions Inc

FO Box 788

Kirkland, WA 98083-0788

Syncb/Amazon
PO Box 960013
Orlando, FL 32896-0013

Wells Fargo

1000 Blue Gentian Road
Suite 300

Eagan, MN 55121-7704

Robert E Tardif, Attorney for Trustee +
Robert E. Tardif, Jr., P.A.

Post Office Box 2140

Fort Myers, FL 33902-2140

Note: Entries with a ‘+’ at the end of the
name have an email address on file in CMECF

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Diogenes E Pena
2600 NH 3rd Place
Cape Coral, FL 33993-8781

Wells Fargo Bank N.A.
MAC N9286-01Y

1000 Blue Gentian Road
Eagan, MN 55121-7700

Capital One Bank (USA), N.A.

by American InfoSource as agent
PO Box 71083

Charlotte, NC 28272-1083

LVNV Funding, LLC
Resurgent Capital Services
PO Box 10587

Greenville, SC 29603-0587

Safeguard America
55 Sebethe Drive
Cromwell, CT 06416-1054

Syncb/Paypal
PO Box 965005
Orlando, FL 32896-5005

Robart Sanchez +
Robert Sanchez PA

355 # 49th Street
Hialeah, FL 33012-3715

United States Trustee - FTM7/13 +
Timberlake Annex, Suite 1200

501 E Polk Street

Tampa, FL 33602-3949

End of Label Matrix

Mailable recipients 25
Bypassed recipients 0
Total 25
